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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

In re:                                                    Case No. 8:19-bk-04542-RCT
                                                          Chapter 7
Frank Natiello
Louisa-Anne R. Natiello,

      Debtor(s).
___________________________/

                                   PROOF OF SERVICE


         I hereby certify that on September 26, 2019, a true and correct copy of the Order

Approving to Employ BK Global and Local Listing Agent has been furnished by electronic

delivery or U.S. mail to the parties listed below.

    U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602
    (service via Electronic Delivery through the CM/ECF system upon entry of the order)

    Sandra H Day, The Day Law Office, 4108 Deltona Blvd., Spring Hill, FL 34606
    (service via Electronic Delivery through the CM/ECF system upon entry of the order)

    Fraank and Louisa-Anne Natiello, 8027 Sealawn Dr., Spring Hill, FL 34606

    BK Global Real Estate Services, 2000 E. Lamar Blvd., Suite 155, Arlington, TX 76006

    Justin Kiliszek, Keller Williams Midtown Direct, 223 Mountain Ave Springfield, NJ
    07081
                                     Respectfully submitted,

                                       /s/ Christine L. Herendeen
                                       Christine L. Herendeen, Trustee
                                       P.O. Box 152348
                                       Tampa, FL 33684
                                       (813) 438-3833
